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                      UNITED STATES DISTRICT COURT FOR THE
                                      DISTRICT OF MAINE



 BRETT BARER,

                        Plaintiffs,

 V.                                                   Case No.


 MATTHEW DUNLAP,Secretary of the
 State of Maine.                                      AFFIDAVIT



                        Defendant.




       AFFIDAVIT OF BRETT BARER IN SUPPORT OF PLAINTIFFS' MOTION
                  FOR A TEMPORARY RESTRAINING ORDER


       I, Brett Baber, hereby declare as follows under penalty of perjury:

       1.      The following statements are based on my personal knowledge, and if called to

testify I could swear competently thereto.

       2.      I am at least 18 years old and ofsound mind.

       3.      I am a citizen of the United States and ofthe State of Maine. I reside at 29 Silver

Ridge, Veazie, Maine 04401. I am an eligible Maine voter and am duly registered to vote in

Maine's Second Congressional District.

       4.      I voted in the November 6,2018 general election.

       5.      Consistent with Maine's current use ofranked-choice voting in elections for federal

office, I selected Bruce Poliquin as my first choice to serve as the U.S. Representative for Maine's

Second Congressional District.

       6.      Under the ranked-choice voting system, the votes of others in the Second

Congressional District who selected William Hoar or Tiffany Bond as their first choice for U.S.
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 Representative are now reportedly in the process of being reallocated to the top-two finishing

candidates: Jared Golden and Bruce Poliquin.

        7.     As a result ofthe ranked-choice voting system, my vote for Bruce Poliquin is being

diluted by the votes ofothers who designated Hoar and Bond as their first choice and whose ballots

are now reportedly being counted for other candidates.

        8.     As long as the Defendant continues to count and tabulate votes under the

unconstitutional ranked-choice voting system, I will continue to suffer irreparable harm to my

constitutionally protected right to vote.

        FURTHER AFFIANT SAYETH NOT.




                                                    Brett Baber


        Sworn to and subscribed before me


       this           of November 2018.




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                                I CD:             /^i
